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     Attorneys for Defendant
 7   All Reverse Mortgage, Inc.

 8                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF ARIZONA
 9                                   (Prescott Division)
10   Brenda Whittaker, individually and on
11   behalf of all others similarly situated,
                                                    Case No. 3:20-cv-08016-DLR
12                         Plaintiff,
                                                    NOTICE OF SERVICE
13   vs.
14   All Reverse Mortgage, Inc.,
15
                           Defendant.
16
            On May 26, 2020, Defendant All Reverse Mortgage, Inc., by counsel, served its
17
     production pursuant to the Mandatory Initial Discovery Project on the following counsel
18
     of record in this action via first-class mail and electronic mail.
19
                Penny K. Koepke                          Patrick H. Peluso
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25

26   DATED: May 26, 2020                         KABAT CHAPMAN & OZMER LLP

27                                               /s/ Ryan D. Watstein
                                                 Ryan D. Watstein (admitted pro hac vice)
28
                                                 Counsel for Defendant
                                                    1
       Case 3:20-cv-08016-DLR Document 21 Filed 05/26/20 Page 2 of 2



 1                             CERTIFICATE OF SERVICE
 2         I certify that on May 26, 2020, the foregoing document was filed with the Court
 3   using CM/ECF, which will send notification of such to counsel of record.
 4

 5   DATED: May 26, 2020                     /s/ Ryan D. Watstein
                                             Ryan D. Watstein
 6

 7                                           Counsel for Defendant

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